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Staff Updat es

 

 

Of 1. PB_Q€|D#. 99§01718

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l:] Asst. Principa| [I Media Specia|ist

n Dean of Students m Nurse
l:l Counselor |:l Pupi| Personne|
l:l Consu|tant \:l Safety

I:l Socia| Worker
m Transportation Supervisor
lj Edu|og Users

m Coordinator

|:| FiNANcE
F:l Business lV|anager

 

m Itinerant Teachers
l:l Speech Therapist
\:l Adaptive PE

l:l Physicaf Therapist
n Health Coordinator
n Resource Specia|ist
|'_'| Nutritionist

[:] Socia{ Worker

§ sciP

§ sPEciAL NEEDS

l:l Spec Ed Director

m A|ternative Programs
§ oTiPT

m Psychologist

1 n l _ _ _ _ Schoo| Year
P!ease review your information bech and indicate to the right if the information is okay 66 is cr [:| Okay AS 13
if there are changes. Writc in any changes in wine or red ink and return E...ori Wiahaffey |___| Changes
Withm the next week [:| NEW giant
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LAST NAME F|RST NAN|E Ml PHONE Un|isted Birthdav: Montthav
F Name Changes ghan_qes
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STREET C|TY STATE Z!P CODE
Address Changes
j`nposton@massi|Ionschoo|s.org ;GROUP TEACHER
EN|ai| Primary Tit|e
Chan_qes Chan_qes
jl\llassi||on lntermediate Schoo| §
Bui|din_q Primary Tit|e 2
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L_.l Wor|<ers Comp Group m Saturn l:l Speech\Hearing m Custodian
m Not App|icab|e |:l Science Fair |:l LD I:l N|echanic
l:l Board N|ember l:l D|STR|CT W|DE l:l Nlath Counts |:l DH m Secretary
|:| ADMiNiSTRAToR § Attenclanoe Officer § Dietriot Support § SBH § Supt. secretary
. l:l Superintendent I:I Business Officia| m MH m EN||S
§ Aesiet. supt. § career Teoh § EARLY ci-iiLDi-ioon § Tutor
§ HS Prineipei § Eiviis coordinator § Direotor § cERTii=iED
- §l:.'.] JH Principa| l:l Faci|ity N|anager l:l Parent As Teachers l:l TECHNOLOGV I:I Department Head
g N|S Principa| l:] Food Service Supervisor m Even Start l:l NetTat
ij E|em Prir\cipa| l:l MaintenanceSupervisor l:l Preschoo| Teacher g NN|K

l:l Network Nlanager
m Tech Coordinator

m Athletic Director
m Coach

§ LPnc
El ESC Assessment Team

§ cLASSlFlED
l:l |nterventionist
§ Aide

§ Esc Aide

l:] Bus Driver

m Cafeterfa

 

m Treasurer m CURR|CULUM
l:] Asst. Treasurer m CD
|Il Payroii clerk § Gifted coordinator
l:l Accts Receivab|e m Tit|e |
l:l Accts Payab|e \:l Vocationa| Ed.
[:l Personnei Records n SAN|M
§l:l lnsurance |:l SEEDS
Co_r__e Content _
ij ART I:l Geometry
§ ENGLisH \ LANGuAGE ARTS § Trigonometry
n FORE|GN LANGUAGE m NlUS|C

L`.l DRivER's ED § Generai Mueic

 

l:l Chemistry
l:] Earth\Space

L_.l Envirorimental Science l:l |NDUSTR|AL

l:l Physica| Science

l:] HEALTH n |nstrumenta| N|usic n Physics

L_.l MATH § voeai Mueio § SociAi_ sTuniES

El Advanced Nlath I:] PH\'S. ED. \:l American History

l:| Aigebra § sciENcE § citizenship

I:I Ca|cu|us I:I Bio|ogy I:I Geography
Grade Leve|

 

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l:l |ndustria| Arts
m Librarian

 

 

 

 

 

 

